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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

 _______________________________
 HERBERT MERCHANT                )
                                 )                    Case Number
             Plaintiff           )
                                 )                    CIVIL COMPLAINT
             vs.                 )
                                 )
 ZENITH ACQUISITION              )
 CORPORATION                     )
                                 )                    JURY TRIAL DEMANDED
             Defendant           )
 _______________________________)


                          COMPLAINT AND JURY DEMAND


           COMES NOW, Plaintiff, Herbert Merchant, by and through his undersigned

 counsel, Sarah K. Hall, Esquire complaining of Defendant, and respectfully avers as

 follows:


                          I. INTRODUCTORY STATEMENT


           1.    Plaintiff, Herbert Merchant, is an adult natural person and brings this

 action for actual and statutory damages and other relief against Defendant for violations

 of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which

 prohibits debt collectors from engaging in abusive, deceptive and unfair practices.


                                   II. JURISDICTION


           2.    Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C.

 § 1337.
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        3.      Venue in this District is proper in that the Plaintiff resides in this District

 and the Defendant transacts business in this District.


                                       III. PARTIES


        4.      Plaintiff, Herbert Merchant, is an adult natural person residing at 235 Old

 Mills Road, Talmadge, Maine 04490. At all times material and relevant hereto, Plaintiff

 is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a (2).

        5.      Defendant, Zenith Acquisition Corporation (“Defendant”), at all times

 relevant hereto, is and was a corporation engaged in the business of collecting debt within

 the State of Maine with its principal place of business located at 170 Northpointe

 Parkway, Suite 300, Amherst, NY 14228.

        6.      Defendant is engaged in the collection of debts from consumers using the

 telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be

 due to another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C.

 §1692a(6).


                            IV. FACTUAL ALLEGATIONS


        7.      During the later part of January, 2010, Plaintiff started to receive calls

 from Defendant and their agents collecting on an alleged debt owed to First US Bank.

        8.      Plaintiff was told by Defendant that they were attempting to collect the

 balance of approximately $823.53 on this matter.
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           9.    At that time, Plaintiff informed the Defendant that he had retained the

 services of the law firm of Persels & Associates, LLC to help aid him in the settling of

 his outstanding debt and that they would need to call their firm directly.

           10.   Defendant stated that they would not negotiate with Persels and that the

 Plaintiff would need to work with them personally.

           11.   On or about January 25, 2010, Persels sent a “cease and desist” letter to

 the Defendant, informing them in writing that they were representing the Plaintiff and

 that they needed to stop any further direct contact. See Exhibit “A” (letter) attached

 hereto.

           12.   This letter went on to state that the Plaintiff’s main source of income was

 Social Security (SSI) and that collection efforts will be futile.

           13.   Plaintiff offered Defendant and their agents Persels contact information

 each time they called, however the collection calls from Defendant continued.

           14.   On or about June 8, 2010, Persels sent a second “cease and desist” letter to

 the Defendant. See Exhibit “B” (letter) attached hereto.

           15.   Defendant continued to place calls to the Plaintiff looking for payment on

 this account.

           16.   On or about July 1, 2010, Plaintiff received a letter from Defendant

 offering a payment plan the first payment to be paid by July 5, 2010. See Exhibit “C”

 (notice) attached hereto.

           17.   As of the filing of this complaint, Plaintiff continues to receive calls

 demanding payment on this matter.
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        18.     The Defendant acted in a false, deceptive, misleading and unfair manner

 when they engaged in conduct the natural consequence of which is to harass, oppress or

 abuse such person in connection with the collection of a debt.

        19.     The Defendant knew or should have known that their actions violated the

 FDCPA. Additionally, Defendant could have taken the steps necessary to bring their and

 their agent’s actions within compliance of the FDCPA, but neglected to do so and failed

 to adequately review those actions to insure compliance with the law.

        20.     At all times pertinent hereto, Defendant was acting by and through it

 agents, servants and/or employees, who were acting with the scope and course of their

 employment and under the direct supervision and control of Defendant herein.

        21.     At all times pertinent hereto, the conduct of Defendant as well as its

 agents, servants and/or employees, was malicious, intentional, willful, reckless, negligent

 and in wanton disregard for federal and state law and the rights of the Plaintiff herein.



                                    COUNT I – FDCPA


        22.     The above paragraphs are hereby incorporated herein by reference.

        23.     At all times relevant hereto, Defendant was attempting to collect an

 alleged debt which was incurred by Plaintiff for personal, family or household purposes

 and is a “debt” as defined by 15 U.S.C. § 1692a(5).

        24.     The foregoing acts and omissions constitute violations of the FDCPA,

 including but not limited to, violations of:
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               §§ 1692c(a)(2)         After it knows the consumer to be represented by an

                                      attorney unless attorney consents or is unresponsive

               §§ 1692c(c)            After written notification that the consumer refuses

                                      to pay debt, or that consumer wants collector to

                                      cease communication

               §§ 1692d               Any conduct the natural consequence of which is to

                                      harass, oppress or abuse any person

               §§ 1692d(5)            Caused the phone to ring or engaged any person in

                                      telephone conversations repeatedly

               §§ 1692e               Any other false, deceptive, or misleading

                                      representation or means in connection with the debt

                                      collection

               §§ 1692e(10)           Any false representation or deceptive means to

                                      collect a debt or obtain information on a consumer

               §§ 1692f               Any unfair or unconscionable means to collect or

                                      attempt to collect the alleged debt



        WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

 Defendant, Zenith Acquisition Corporation for the following:

        a.     Actual damages;

        b.     Statutory damages pursuant to 15 U.S.C. § 1692k;

        c.     Reasonable attorney’s fees and litigation expenses, plus costs of suit; and
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      d.     Such additional and further relief as may be appropriate or that the

             interests of justice require.


                                 V. JURY DEMAND


      Plaintiff hereby demands a jury trial as to all issues herein.

                                             Respectfully submitted,



                                             Sarah K. Hall, Esquire

      Date: August 27, 2010                  BY: /s/ Sarah K. Hall      _
                                             Sarah K. Hall, Esquire

                                             Sarah K. Hall, Esquire
                                             156 Cedar Pond Road
                                             Durham, ME 04222
